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                              2024-1342



         United States Court of Appeals
             for the Federal Circuit

                  MAGEMA TECHNOLOGY LLC,

                                       Plaintiff-Appellant,

                                  v.

       PHILLIPS 66, PHILLIPS 66 CO., WRB REFINING LP,

                                       Defendants-Appellees.


        Appeal from the United States District Court for the
                    Southern District of Texas
                No. 4:20-cv-02444, Judge Sim Lake


       DEFENDANTS-APPELLEES’ RESPONSE BRIEF

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May 22, 2024
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                           PATENT CLAIMS

     This appeal involves Claims 1 and 5 of U.S. Patent No. 10,308,884

(“the ’884 Patent”). Claims 1 and 5 of the ’884 Patent read as follows:

      1. A low sulfur heavy marine fuel oil, consisting essentially of a
100% hydroprocessed high sulfur heavy marine fuel oil, wherein prior to
hydroprocessing the high sulfur heavy marine fuel oil is compliant with
ISO 8217: 2017 and is of merchantable quality as a residual marine fuel
oil but has a sulfur content (ISO 14596 or ISO 8754) greater than 0.5%
wt. and wherein the low sulfur heavy marine fuel oil is compliant with
ISO 8217: 2017 and is of merchantable quality as a residual marine fuel
oil and has a sulfur content (ISO 14596 or ISO 8754) less than 0.5 wt %.

      5. A low sulfur hydrocarbon fuel composition consisting essentially
of: a majority by volume of a 100 % hydroprocessed high sulfur residual
marine fuel oil and a minority by volume of Diluent Materials, wherein
prior to hydroprocessing the high sulfur heavy marine fuel oil is
compliant with ISO 8217: 2017 but has a sulfur content (ISO 14596 or
ISO8754 ) greater than 0.5 wt %; and wherein the low sulfur heavy
marine fuel composition is compliant with ISO 8217:2017 and has a
sulfur content (ISO 14596 or ISO 8754) less than 0.5 wt %; and wherein
the Diluent Materials are selected from the group consisting of:
hydrocarbon materials; non–hydrocarbon materials; and, solid materials
and combinations thereof.




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                    CERTIFICATE OF INTEREST

      Pursuant to Fed. Cir. R. 47.4(a), counsel for Defendants-Appellees
certify the following:
   1.      The names of the parties I represent are Phillips 66, Phillips

66 Co., and WRB Refining LP.

   2.      There are no real parties in interest that I represent in this

case.

   3.      The parent corporation and stockholder for Phillips 66 Co. is

Phillips 66. The parent corporation and stockholder for WRB Refining

LP is Phillips 66 and Cenovus Energy Inc. The parent corporation and

stockholder for Phillips 66 is not applicable.

   4.      The legal representatives for the parties are the following:

           GIBBS & BRUNS LLP: Denise Lambert Drake, Charles
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           NORTON ROSE FULBRIGHT US LLP: Charles B. Walker, Jr.,
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           Keville, Robert L. Green



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   5.     There are no Fed. Cir. R. 47.5(a) related cases.

   6.     There are no Fed. Cir. R. 47.4(a)(6) Organizational Victims

and Bankruptcy Cases.

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                 STATEMENT OF RELATED CASES

      Pursuant to Federal Circuit Rule 47.5, counsel for Defendants-

Appellees Phillips 66, Phillips 66 Co., WRB Refining LP (“Phillips 66”)

states that there are no other appeals from the case below to this Court

or any other appellate court. There are no cases known to counsel for

Phillips 66 pending in this Court or any other court that will directly

affect, or be directly affected by, this Court’s decision in this case.




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                      ISSUES PRESENTED

1. In the Fifth Circuit, a district court must order a new trial if

  manifest injustice occurred. While evaluating the entire record, the

  district court noted an argument was improper because of a

  discovery dispute but did not affect the verdict because Magema’s

  case failed multiple times over. Having failed to preserve error, can

  Magema force a new trial by challenging only this fragment of the

  district court’s reasoning?


2. Under O2 Micro, parties must raise claim-scope disputes to the

  district court. Magema did not request claim construction on

  whether and where the patents require feedstock testing, instead

  requesting the jury determine those issues under the plain meaning

  of the patent terms. Can Magema show a preserved or valid O2

  Micro challenge here?


3. In construing the term “Heavy Marine Fuel Oil,” the district court

  determined that the term’s two different claimed characteristics—

  a “residual fuel” and “compliant with ISO 8217:2017”—were

  synonymous, thus disregarding the specification’s “residual fuel”


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  definition. Does the court’s error in Magema’s favor provide an

  alternative ground for affirmance?


4. Phillips 66 produced feedstock test results that conclusively

  negated Magema’s infringement theory as to the Bayway refinery

  by showing that feedstock flashpoints were too low to infringe. The

  district court refused to consider the test results at summary

  judgment and excluded them from trial. Does the court’s error in

  Magema’s favor provide an alternative ground for affirmance?




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                                FACTS

I.   Magema Did Not Solve The International                       Maritime
     Organization Sulfur Problem; Phillips 66 Did.

     Phillips 66 has reduced sulfur levels in fuels produced at its

refineries for decades.1 For years the company has blended, hydrotreated,

and otherwise modified fuel inputs in “extremely innovative” ways to

achieve desired outputs. 2 So when the International Maritime

Organization (“IMO”) announced in 2016 that the maximum permitted

sulfur content of heavy marine fuel oil (“HMFO”) would decrease by

2020,3 Phillips 66 prepared to adapt again. It optimized processes at its

Bayway and Wood River refineries to reduce the sulfur content of its

HMFO products, thus producing refined fuel products compliant with the

IMO’s standards. 4

     In 2016, an individual who had “never designed a hydrotreater” and

had “never been involved in buying or selling marine fuel oil” or “the

patent process” heard about the IMO’s sulfur announcement and


1 Appx1023-24 (240:4-241:21).

2 Appx0929 (40:2-14); Appx1024 (241:4-21).

3 Appx1024-25 (241:22-242:23, 247:1-19).

4 E.g., Appx0913 (222:19-23) (Bayway); Appx0915 (230:2-10) (Wood
River).

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partnered with an unemployed friend who “had never worked with

marine fuel oils” to “design and build a production plant that was going

to hydrotreat high-sulfur heavy marine fuel oil into very low-sulfur

marine fuel oil.”5 They formed Magema, came up with a way to reduce

sulfur content in HMFOs, and applied to patent their process. 6 But the

market proved Magema’s patented process to be wildly unpopular: no one

in the geography covered by Magema’s patents has ever used it. 7 Magema

failed to apprehend that because the refining industry has navigated

changes to sulfur-content specifications successfully for decades, its

patents teach a solution in search of a problem.

     Phillips 66 and Magema have never been partners. Through a

family connection, Magema marketed its idea to Phillips 66. 8 Phillips 66

learned that Magema wanted to “build, own and operate” a “hydrotreater

somewhere on the Gulf Coast.” 9 Magema wanted Phillips 66 to ship fuel

across the country to this nonexistent desulfurizing plant, at the



5 Appx0877 (79:19-80:18), Appx0860 (10:10-18), Appx0861 (14:24-15:2).

6 Appx0862 (20:2-11), Appx0868 (43:13-21).

7 Appx0880 (89:7-9).

8 Appx0868 (44:10-23).

9 Appx0916 (235:3-8).




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uneconomical cost of $2.5 million per month. 10 And it wanted Phillips 66

to use fuel and refinery technology that differed from what Phillips 66

had in place.11 Phillips 66’s director of hydroprocessing12 concluded that

Magema’s proposed technology “was not feasible.” 13

     Phillips 66 did not want Magema’s technology. No one did. Through

trial, Magema had never made a dollar on its technology.14 Phillips 66

solved the sulfur cap problem using methods that have existed for

decades, and in a way that had “nothing to do with” Magema. 15 In fact,

the twists Phillips 66 introduced to its existing processes to meet the cap

originated in-house and before any meetings with Magema happened.16

Magema sued anyway, claiming Phillips 66’s refineries at Wood River

and Bayway infringed Magema’s patents. 17




10 Appx1037 (83:2-84:16).

11 Appx0912 (217:20-218:6), Appx1038 (85:5-17).

12 Appx0906 (193:15-22).

13 Appx0904 (185:11-15).

14 Appx0951 (125:7-126:11).

15 Appx0917 (239:15-19).

16 Appx0126.

17 Appx0085.




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II.   Before Trial, Magema Obtained A Favorable                         Claim
      Construction And Excluded Important Evidence.

      The district court recognized that “the lion’s share of [its] rulings

have been favorable to the plaintiffs . . . .”18 It was thus Phillips 66, and

not Magema, that began the trial with “hands tied behind its back” 19—so

much so that Phillips 66 was barred from presenting two independently

dispositive bases for noninfringment to the jury.

      First, Magema prevailed in full in the claim construction process.

There, the parties asked the court to construe three terms, including

“HMFO,” the only one at issue here.20 The court adopted Magema’s

proposed construction that “HMFO” is “a petroleum product fuel

compliant with the ISO 8217:2017 standards for the bulk properties of

residual marine fuels except for the concentration levels of the

Environmental Contaminates.”21 The court rejected Phillips 66’s

argument that the HMFO definition must include the specifications’

limitation that HMFO contain “process residues,” the “fractions that



18 Appx1092 (15:2-5).

19 Contra Magema Opening Br. (“Br.”) 23.

20 Appx0231.

21 Appx0239.




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don’t boil or vaporize even under vacuum conditions.”22 Phillips 66

reurged its claim construction request at summary judgment, arguing

that the claim construction “does not address the dispute between the

parties” whether HMFO must contain any process residues, leaving “a

continuing obligation to address [that] dispute[]” under O2 Micro.23 But

the court refused to change its construction or construe “HMFO”

further—through summary judgment; 24 the jury instruction stage; 25 and

the JMOL stage.26 The impact was striking: because Bayway processes

only distillate fuels that have been fully vaporized before they ever reach

the hydrotreater, reading out the requirement that HMFO contain

“fractions that don’t boil or vaporize” erased a dispositive ground for

noninfringment. 27

     Second, pre-trial rulings concerning feedstock testing favored

Magema.28 Before those rulings, Phillips 66 produced many “fresh feed”


22 Appx0238.

23 Appx1906; Appx1857-58; Appx0055.

24 Appx0060.

25 Appx0672.

26 Appx1122.

27 Appx0054.

28 Contra Br. 21.




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samples from its Bayway facility. 29 These samples came from outside the

battery limits of the facility (before the feedstock hit any equipment),

because that was the area both parties considered relevant to

flashpoint.30 Flashpoint was an important parameter because the parties

agree Phillips 66 does not infringe at Bayway if the flashpoint of the

Bayway feed is less than 140 degrees Fahrenheit.31

      The samples and testing results showed non-infringement. Aside

from stray readings, they reported a flashpoint below 140 degrees—often

significantly below. 32

      So Magema changed course. After serving expert reports, Magema

moved to compel feedstock samples from new locations inside Bayway’s

battery limits, which would require imposing new safety protocols and

building additional infrastructure. 33 Magema already had samples from

Bayway’s two feedstock streams: the “fresh stream”; and the “recycled

stream,” consisting of the finished product recycled into the facility as



29 Appx1977; see also Appx1009 (112:3-5).

30 See Appx1978.

31 E.g., Appx0016.

32 Appx1853.

33 Appx1978-79.




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feedstock. 34 So when Magema demanded samples of the combined (fresh

plus recycled) stream, Phillips 66 specified that the properties of the

combined stream could be determined from the known properties of the

two constituent streams—data that was already available to both

parties.35 The district court declined to compel these samples. 36

     Magema wielded this denial as a sword. When its motion to compel

was denied, Magema had not clearly contended that equipment within

the Bayway facility materially changed flashpoint, such that testing

feedstock at locations within the battery limits and downstream from the

“fresh feed” would be fundamentally different than testing the fresh feed

itself.37 After the motion’s denial, though, Magema offered theories that

a D-101 drum downstream of the fresh-feed samples could change the

feed’s flashpoint, and that the flashpoint of this altered feed could be

estimated using “Riazi” calculations. 38

     Since Magema thereby injected a new issue about whether the fresh



34 Appx1976.

35 Appx0273 (13-15, 21-24).

36 Appx0007.

37 Appx1978 (quoting expert testimony).

38 Appx1978-79; Appx0063 (describing Riazi approach).




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feed’s flashpoint changed as it flowed through equipment, Phillips 66

undertook the burden to build downstream sampling stations where

Magema theorized the flashpoint could become higher.39 These samples

proved Magema wrong; the flashpoint had not increased. 40 But after it

saw the testing results, Magema successfully excluded these downstream

feedstock samples—the very ones it had moved to compel—as untimely

disclosed. 41

III.   The Jury Unanimously Found Phillips 66 Did Not Infringe.

       Magema’s trial evidence fell flat on predicate issues long before

flashpoints. First, Magema failed to address that the Bayway feed could

not satisfy the claims’ independent requirement of “merchantability.”42

“Defendants presented undisputed evidence that the Bayway feed was

not merchantable because its viscosity was too low[.]” 43 Phillips 66’s

manager of commercial fuel trading explained the viscosity problem in




39 Appx1979.

40 Appx1979.

41 Appx0032.

42 Appx0112; Appx0147.

43 Appx0112.




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detail. 44 Magema had no answer then or now, except to complain that it

was ambushed, to press the merchantability of the product rather than

the feed, and to reference evidence concerning not merchantability but

IMO specifications (a separate issue).45 But the district court recognized

Phillips 66 timely disclosed its viscosity contention and that whether the

feedstock and product are merchantable are different questions. 46

      Second, evidence on where to measure flashpoint—at the “fresh

feed” point, or after the feed hits the equipment—was dispositive in

Phillips 66’s favor. Magema’s expert took Phillips 66’s side that what

mattered was the flashpoint of the fresh feed. 47 Phillips 66’s witnesses

agreed. 48 That disposed of whether the Riazi estimates were appropriate,

since those estimates do not purport to measure the fresh feed samples.49

      These failures (and others) rendered irrelevant whether Riazi

estimates were a sufficient substitute for actual tests. The district court



44 Appx0101.

45 Br. 45.

46 Appx0101.

47 Appx0105.

48 E.g., Appx0928 (34:19-22); Appx1045-46 (116:7-117:17).

49 Appx0991 (40:1-4), Appx0992 (44:11-13).




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recognized the contest was not close. 50

      Throughout trial, Magema chose not to object contemporaneously

to whether the claims required actual testing or permitted the use of

Riazi estimates. Small wonder: Magema had prevailed in virtually all

significant pretrial matters, including claim construction and evidence

exclusion.51 The parties also provided the jury with notebooks containing

ISO 8217, which indicates the actual testing requirement. 52 And Magema

knew Phillips 66 never conceded that Magema could prove its case

without test results. 53 The “estimates” Phillips 66 described at a motion

to compel hearing concerned composites of two actual feedstock tests or

samples, where the properties of both feedstocks were empirically

knowable—not Riazi estimates of flashpoint at a point where no samples

existed. 54

      So rather than objecting, Magema highlighted the actual-testing

issue, using it as a strategic cudgel to paint Phillips 66 as a willful



50 Appx0112-13.

51 Appx0238-39; Appx0032.

52 Appx0575; Appx2051, Appx2054; accord Appx0894 (146:10-13).

53 E.g., Appx1848 (challenging Riazi); Appx0957 (150:11-12).

54 Appx0272-73.




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infringer. Magema affirmatively elicited testimony about the actual-

testing issue, insisting witnesses confirm that “Phillips 66 has an

argument in this case . . . that Magema has an obligation to provide

actual testing of physical samples in order to satisfy ISO 8217.”55

Magema even offered the misimpression that Phillips 66 never provided

the very samples Magema had excluded:

          Q. But you can’t test a sample that hasn’t been
          provided to you, right? Is that fair?

          Q. So Phillips gave us samples of products that
          aren’t representative of what’s going into the
          reactor and then Phillips is saying, well, Magema
          you have to test the actual properties and so we
          only gave you these samples and so we’re stuck
          with this, correct?

          Q. We’re going to give you the orange stream, the
          green stream, and we’re not going to give you
          anything else, correct? But then Phillips 66 said
          that we have to provide actual test data; is that
          correct? Is that the position?56

And if there was ever confusion whether estimates could satisfy

Magema’s burden of proof, Magema dispelled it. Magema told the jury




55 Appx0907 (199:11–19).

56 Appx0907 (200:1-2); Appx0928 (34:1-5); Appx0928 (34:15-18).




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that “we were allowed to use calculations under these circumstances.” 57

      No party moved for mistrial. The parties put the case in the hands

of the jury, which returned a unanimous verdict of non-infringement.58

Its verdict could not have turned on whether actual testing was required

instead of Riazi estimates, because that issue affected only one of the two

refineries at issue (Bayway). 59 The jury found non-infringement as to

both. 60

      Magema filed a motion for new trial containing a slew of complaints

it had never raised before.61 The district court denied Magema’s motion,62

and this appeal followed.

                       SUMMARY OF ARGUMENT

      Going into trial, Magema was riding high. Having gotten nearly

everything it asked for in pretrial motions, Magema unsurprisingly chose

to gamble on the verdict, lodging virtually no contemporaneous trial




57 Appx2040 (79:23-80:8).

58 Appx0079-81.

59 Appx0991 (40:1-4).

60 Appx0080-81.

61 Appx2087-2119.

62 Appx0085-86.




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objections (and none to the issues raised here), let alone hinting at a

mistrial. But when the tables turned to testing the merits, the jury

unanimously found that Phillips 66 had never infringed any of Magema’s

patents.

     So Magema now changes its tune, lamenting a “runaway trial”

conducted by a judge who “frankly didn’t understand” and must have

seen errors occur yet “unjustifiably” “refused to curtail Phillips’ improper

behavior” and again and “again did nothing to correct the” errors (that

Magema never asked him to correct).

     Magema’s revisionist history is subject to its gambits below. As to

its first Issue Presented, Magema’s failure to preserve error subjects it to

plain-error review, where reversal is warranted only for exceptional

errors. But Magema fails to explain how it meets the plain-error

elements, nor could it—this case is nothing like the rare cases meriting

plain-error reversal. Worse, by challenging only a subsidiary harmless-

error finding and not the manifest injustice holding subject to the

standard of review, Magema fails to allege any error susceptible to

reversal. Those failures are an impenetrable wall, but nothing useful for

Magema lies on its other side—the court’s harmless-error analysis stands



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because Magema’s substantial rights were unimpaired and the jury’s

verdict was amply supported.

     Magema’s trial strategy haunts its second issue too. The complaint

it raises in O2 Micro guise here was raised to the district court solely as

an improper-argument-of-counsel basis for a new trial, thus failing to

preserve its challenge. Moreover, Magema never contended below—even

post-trial—that either of the terms were wanting of further construction,

instead conceding to the judge and jury that their plain meanings were

subject to the crucible of evidence (where Magema was happy to do battle,

until it lost). Magema thus waived any O2 Micro challenge and triggered

no claim construction duty. Even on those waived merits, Magema

challenges the actions of the wrong actor and complains of factual

questions relating to infringement rather than proper claim construction

questions.

     Magema’s two affirmative issues end its appeal. But two

alternative grounds for affirmance wait in the wings. Issue three shows

how the court erred in construing in Magema’s favor the key claim term

“HMFO.” It did so by adopting solely a descriptive feature of that term

while failing to include its inherent definition. Because the evidence is



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undisputed that Bayway does not infringe had that definition been

included, this error is a determinative basis for affirmance.

        Issue four similarly shows how the court’s error in excluding

evidence of actual flashpoint data changed the course of the trial. It was

conducted on estimates supporting Magema’s only theory of Bayway

infringement while the actual data showing those estimates to be a

sham—thereby proving Bayway’s noninfringment—were excluded.

Instead, the trial should have ended before it began: at summary

judgment, which the district court denied not on any evidentiary basis

but solely on the flashpoint data’s timing. That cannot survive scrutiny

here.

                           STANDARDS OF REVIEW

        For Issue One, “[a] new trial will not be granted based on trial error

unless, after considering the record as a whole, the court concludes that

manifest injustice will result from letting the verdict stand. [The Court

of Appeals] will reverse the trial court’s denial of a motion for a new trial

only when there is a clear showing of an abuse of discretion.” Learmonth

v. Sears, Roebuck and Co., 631 F.3d 724, 731 (5th Cir. 2011) (citations

and quotations omitted). When the appellant fails to preserve error in the



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trial court, plain-error review applies in lieu of the abuse-of-discretion

standard. Ramsey v. Pepsi Cola Bottling Co., 265 Fed. Appx. 272, 275 (5th

Cir. 2008).

     For Issue Two, O2 Micro error arises when a district court fails to

issue a claim construction on “an actual dispute regarding the proper

scope of [the] claims” that has been properly raised by the parties. O2

Micro Int’l Ltd. v. Beyond Innovation Tech. Co., 521 F.3d 1351, 1360 (Fed.

Cir. 2008).

     For Issue Three, legal conclusions within the district court’s claim

construction are reviewed de novo. Teva Pharms. USA, Inc. v. Sandoz,

Inc., 574 U.S. 318, 322, 332-33 (2015). Under Fifth Circuit law, this Court

“review[s] grants and denials of summary judgment de novo,” especially

with respect to “legal conclusions.” Lyda Swinerton Builders, Inc. v.

Oklahoma Sur. Co., 903 F.3d 435, 444 (5th Cir. 2018); Lexion Med., LLC

v. Northgate Techs., Inc., 641 F.3d 1352, 1358 (Fed. Cir. 2011) (regional

law applies). Even under an abuse-of-discretion standard, “an error of

law constitutes an abuse of discretion.” In re Deepwater Horizon, 785 F.3d

986, 999 (5th Cir. 2015).

     For Issue Four, decisions to exclude evidence are reviewed for abuse



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of discretion, “but competent evidence cannot be excluded without a

sound and acceptable reason.” E.E.O.C. v. Manville Sales Corp., 27 F.3d

1089, 1092–93 (5th Cir. 1994).

                                ARGUMENT

I.    The Argument That Claims Require “Actual Testing”
      Cannot Warrant A New Trial.

      Magema claims “improper and prejudicial” arguments concerning

the “actual testing” of feedstock caused a “runaway trial.” 63 Trials rarely

“run away.” If this one had, then when it started running Magema would

have sought a mistrial or at least lodged timely objections. There would

be procedural signs something went awry—signs that make way for “true

appellate review.” 64 Instead there are none. Magema’s challenges came

to life only post-trial. As a result, there is no preserved error, so the plain-

error standard applies—and Magema meets none of its elements.

      Magema’s first issue fails even if the plain-error standard does not

apply. Magema chips at the district court’s sub-determination that

“actual testing” arguments did not affect the outcome of the trial. 65 But



63 Br. 4-5, 39-53.

64 Br. 6.

65 Br. 40-42.




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that portion of the court’s order was not integral to its holding that there

was no “manifest injustice” warranting a new trial, meaning the denial

will stand even if Magema is right. And Magema is not: The district court

did not clearly abuse its discretion in determining that the arguments

Magema challenges here did not affect the outcome of the trial.

       A.     Magema’s Challenges Cannot Survive Plain-Error
              Review.

       “Though [the Court] normally review[s] for abuse of discretion the

decision not to grant a new trial,” review here is only “for plain error

because [Magema] failed to object.” E.g., Ramsey v. Pepsi Cola Bottling

Co., 265 Fed. Appx. 272, 275 (5th Cir. 2008). Magema invites review

under the lower harmless-error standard, 66 but its bombastic language is

revealing: it complains of a “plain error,” a “runaway trial,” a

“miscarriage of justice,” and a trial court that “deserves no deference,”67

assertions that run only to the plain-error standard. Magema meets none

of the plain-error elements, so it cannot obtain a new trial under Issue

One.




66 E.g., Br. 40.

67 Br. 4-6.




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             1.     Because Magema Forfeited Its Objections, Plain-
                    Error Review Applies.

      Because Magema “failed to object at trial to [an] allegedly improper

argument, [] this Court may reverse only if it finds ‘plain error.’” Reese v.

Mercury Marine Div. of Brunswick Corp., 793 F.2d 1416, 1429 (5th Cir.

1986). Likewise, because Magema did not object at the time testimony

was offered, “admission of the[] statements is reviewable only for plain

error.” United States v. Pettigrew, 77 F.3d 1500, 1516 (5th Cir. 1996).

      This failure to preserve error is apparent from the beginning of the

trial to the end. First, Magema did not preserve error in the pretrial

proceedings. Contrary to its contention here, Magema did not “object[] to

Phillips’ argument that the claims require actual testing” “[b]efore jury

selection even began.”68 Complaining of a demonstrative slide, Magema

previewed that if Phillips 66 were to raise an “actual testing” argument,

Magema would re-urge an unrelated motion: “[T]o the extent that they

can make this argument during trial, we would reurge our 295 motion to

shift the burden of proof.” 69 It never asked the court to exclude




68 Br. 25.

69 Appx0846 (7:10-13).




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anything.70

         A pretrial objection would have been insufficient to preserve error

anyway, because the district court did not “rule[] definitively on the

record.” FED. R. EVID. 103(b). All the court did was permit Magema to

object or re-urge a motion during trial: “I’m not going to exclude this

during opening statement. If you want to urge the – if he offers evidence

about this, I’ll hear it during trial. But at this preliminary stage, I’m not

going to prohibit him referring to it in opening argument.” 71

         Thus, “[t]he pretrial ruling did not foreclose consideration at trial”

of whether any arguments were “running afoul of the evidentiary

standards.” Freshub, Inc. v. Amazon.com, Inc., 93 F.4th 1244, 1251 (Fed.

Cir. 2024) (applying Fifth Circuit law). Because “Fifth Circuit authority

indicates that it is broadly up to the litigant seeing prejudice to object in

a timely fashion to identify such uses, so they may be evaluated in the

context of the unfolding evidence and argument, and prevented or

corrected,” Magema had to object at trial to preserve error. Id. But

Magema never objected “in a timely fashion” during trial. Id.; see also



70 Id.

71 Appx0846 (7:18-21) (emphasis added).




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FED. R. EVID. 103(a). The record excerpts Magema presents as error drew

no objection. 72

      On the contrary—Magema itself elicited some of the testimony it

challenges: “that you have to have flashpoint tests made to validate the

flashpoint and not to do estimates of the flashpoint . . . .”73 That testimony

responded to a question posed by Magema:

            Do you understand that one of Phillips 66’s
            arguments in this litigation is that Magema has to
            provide actual testing of physical samples to prove
            a flash point of the product meets or if the feed
            meets the ISO 8217 specification?74

By affirmatively eliciting actual-testing testimony, Magema not only

failed to preserve error but waived its objections. E.g., United States v.

Davis, 443 F.2d 560, 564–65 (5th Cir. 1971) (failing to object and then

“elicit[ing] further information” and “stress[ing]” the information the

adversary adduced waived error).

      Days passed, and statements Magema now challenges entered the




72 See Br. 26-28.

73 Br. 27 (citing Appx0907) (199:20-25).

74 Appx0907 (199:16-19).




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record without objection. 75 Not until the third day of trial did Magema

raise an actual-testing issue again. Even then, the issue it identified is

not the one on appeal. Magema first approached the district court about

an evidentiary issue it does not challenge here—specifically, “excluded

evidence” of test results that Phillips 66 offered to Magema but Magema

rejected, and for which Magema conveyed it “would like an instruction to

the jury to cure that harm . . . .”76

      Only after facing rebuke for pressing the “absolutely untrue”

argument that Phillips 66 “ha[d] refused to give us the samples” did

Magema raise “actual testing.” 77 As before, though, Magema pivoted to a

different argument than the one on appeal. It complained below that

Phillips 66 was “arguing in front of the jury that we can’t rely on those

estimations.”78 Magema complains on appeal that Phillips 66 should not

have argued actual testing was required; it does not challenge arguments

that Riazi was unreliable. Whether estimations were reliable—that is,

whether the jury should credit Magema’s Riazi method of estimation—


75 See Br. 26.

76 Appx0956 (148:9-13).

77 Appx0957 (149:5, 150:4).

78 Appx0957 (150:8-9).




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was one of many fact issues for the jury to decide. And in any event, the

district court did not foreclose Magema from making further objections

during the trial. It merely indicated that Magema could “file something .

. . if you want.”79

      On day four, when the trial was more than halfway over, Magema

filed a motion for a curative instruction and sought to strike testimony or

argument.80 Magema’s motion was insufficient to preserve error. A

motion to strike or cure unobjected testimony—especially for alleged

error that Magema told the district court occurred “throughout the

case” 81—does not satisfy the preservation requirement that objections be

made contemporaneously. See Pettigrew, 77 F.3d at 1516 n.14 (moving to

strike testimony “the following day” is not a “timely objection” under

Federal Rule of Evidence 103(a)) (emphasis in original).

      The court thus acted within its discretion to deny the untimely

instruction Magema requested. The request was also unfounded.

Magema asked the court to instruct the jury that “Magema’s estimations”




79 Appx0957 (151:5-6).

80 Appx1093; Appx1993.

81 Appx1065 (242:24-25).




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were a sufficient substitute for test data.82 That proposed instruction

would usurp the fact issue of whether Magema’s Riazi estimates were

reliable. And in denying Magema’s request, the court merely declined to

give an instruction; it did not rule “definitively” that Magema could not

object to testimony or evidence going forward. FED. R. EVID. 103(b).

Magema never did.

      Magema also did not object during closing.83 In denying Magema’s

motion for new trial, the court correctly determined that “[o]bjections to

improper closing arguments not made contemporaneously [were] waived,

and Magema [was], therefore, ‘barred from urging the improper

arguments as grounds for a new trial after the jury . . . returned its

verdict.’” 84

      Unable to admit it chose to gamble on unpreserved error, Magema

blames the judiciary. It first claims the district court “made objections . .

. before the jury as difficult as possible.” 85 That is irrelevant and untrue.



82 Appx1094.

83 Appx1082-87 (92:24-109:10).

84 Appx0130 (quoting Nissho-Iwai Co., Ltd. v. Occidental Crude Sales,

Inc., 848 F.2d 613, 619 (5th Cir. 1988)).
85 Br. 34.




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The district court invited objections.86 And Magema indeed made some—

but none to whether the claims require actual testing. 87

      Magema also blames the court for supposedly failing “to permit

limine motions.” 88 This too is an irrelevant half-truth. The trial court

allowed the parties to argue pre-trial evidentiary issues and ruled on

them as “motions in limine.” 89 Magema used this mechanism to the

fullest, seeking to exclude seven topics—none of which pertains to actual

testing. 90

      Magema’s reasons for declining to make timely objections are

unimportant, but they were likely sound. Magema hoped the actual-

testing argument would make way for a shift in the parties’ burdens of

proof.91 And when it faced a fork in the road—whether to object and seek

to exclude the actual-testing argument, or whether to parlay the

argument in its favor to prove willfulness under its theory that Phillips



86 E.g., Appx0849 (59:25-60:2).

87 E.g., Appx0917 (238:9-11); Appx0919 (245:8-10).

88 Br. 34.

89 Appx0818 (12:14-17); Appx0819 (13:12-13).

90 Appx0581-82.

91 Appx0846 (7:10-13).




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66 never provided testing data—Magema chose the latter. 92 Those

strategic choices have appellate consequences—among them, plain-error

review.

          2.     There Is No Plain Error.

      To “satisfy plain-error review,” Magema “must show that (1) there

was an error, (2) that was clear or obvious, (3) that affected [its]

substantial rights, and (4) that [this Court] should exercise [its]

discretion to remedy the error because it seriously affects the fairness,

integrity or public reputation of judicial proceedings.” Garcia-Ascanio v.

Spring Indep. Sch. Dist., 74 F.4th 305, 309 (5th Cir. 2023) (citations and

quotations omitted). It is a “longstanding rule” that “reversal for plain

error is not a run-of-the-mill remedy and will occur only in exceptional

circumstances to avoid a miscarriage of justice.” Highlands Ins. Co. v.

Nat’l Union Fire Ins. Co. of Pittsburgh, 27 F.3d 1027, 1032 (5th Cir. 1994)

(citations and quotations omitted).

      Magema cannot meet any element of plain error. As to the first

element, although Magema uses the term “plain error” twice, 93 it fails to



92 See, e.g., Appx0956-57 (148:23-150:2).

93 Br. 6, 42.




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ask for plain-error correction or explain why the plain-error prongs are

satisfied. This is enough to dispose of the appeal. In re: Deepwater

Horizon, 824 F.3d 571, 583 (5th Cir. 2016). Moreover, the thrust of

Magema’s argument appears to be that Phillips 66 should not have made

“improper and prejudicial” arguments, yet the only legal explanation for

why these arguments were supposedly improper occurs in two footnotes

where Magema suggests judicial estoppel and law of the case apply.94

      Whatever the alleged error, it cannot meet the second element of

being a “clear or obvious” one. Judicial estoppel and the law of the case

are discretionary doctrines for the court’s benefit. New Hampshire v.

Maine, 532 U.S. 742, 750 (2001); Arizona v. California, 460 U.S. 605, 618

(1983). Any court error in failing to cobble together prior discovery

hearing transcripts and discovery orders and measure them against the

unfolding trial, all while no party presented the discretionary doctrines

of judicial estoppel or law of the case, was not “error so ‘plain’ the trial

judge and [Phillips 66] were derelict in countenancing it” even though

Magema did not raise it. U.S. v. Frady, 456 U.S. 152, 163 (1982).

      As to the third element, Magema cannot show an error affecting its


94 Br. 56 n.9, 57 n.10.




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substantial rights because the district court did not clearly abuse its

discretion in finding that the argument Magema challenges did not affect

the outcome of the trial. Infra Argument § I.B.2.

     And as to the fourth element, Magema cannot show an error so

“substantial that failure to notice it would affect the fairness, integrity,

or public reputation of the judicial proceedings and would result in

manifest injustice.” Garriott v. NCsoft Corp., 661 F.3d 243, 248–49 (5th

Cir. 2011) (citations and quotations omitted). Magema compares this case

to the Fifth Circuit’s recent decision in Clapper, claiming Phillips 66’s

“trial tactics” “tarnish the badge of evenhandedness and fairness that

normally marks our system of justice.”95

     This case and Clapper bear no resemblance. The conduct that

prompted the Fifth Circuit to order a new trial in Clapper defies belief.

Counsel “abandoned all dignity, order, and decorum” by employing

personal attacks, unsupported allegations of fraud on the court,

misstatements about the court’s rulings, and appeal to local bias, all in

front of the jury—none of which occurred here. 95 F.4th at 315-17.



95 Br. 36 (quoting Clapper v. American Realty Invs., Inc., 95 F.4th 309,

314 (5th Cir. 2024)).

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       Those are the kinds of vigilante tactics that “tarnish the badge of

evenhandedness and fairness.” Magema cannot show, and has never

truly attempted to show, that Phillips 66 did anything like what occurred

in Clapper. The district court determined that statements were

“improper” and “prejudicial” only because of a prior discovery dispute,96

not because Phillips 66 “abandoned all dignity, order, and decorum” or

falsified evidence. Clapper, 95 F.4th at 315.

      Nor was there any “miscarriage of justice,”97 and until this appeal

was its last chance, Magema agreed. Magema’s motion for a new trial

claimed merely that actual-testing arguments were “not found in the

claims or [the] Court’s instructions.” 98 Magema challenges only a few

lines of a thorough district-court determination following a fair trial in

which Magema strategically chose to forgo error preservation. The court

rightly recognized that “[t]he conduct of defense counsel about which

Magema complains is nothing comparable to the conduct that [led] the

Fifth Circuit to grant new trials. . . .” 99


96 Appx0108-09.

97 Br. 6.

98 Appx2087-2119.

99 Appx0135.




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     B.    The District Court’s Denial of Magema’s Motion For
           New Trial Cannot Be Reversed Because Magema Does
           Not Challenge Its Holding And Because That Holding
           Does Not Contain Reversible Error.

     Independent of Magema’s failure to show plain error, Magema’s

first issue fails even on its own terms, and twice-over: Magema does not

challenge the district court’s actual holding in denying the motion for a

new trial, nor does that holding contain reversible error.

          1.     By Failing To Contest The District Court’s
                 Manifest Injustice Determination, Magema Fails
                 To Allege An Error Susceptible To Reversal.

     Magema fails to allege an error capable of entitling it to relief

because it does not challenge the court’s manifest injustice finding, which

is the standard for a new trial. Instead, Magema challenges only what it

calls the district court’s harmless-error analysis. The upshot is that even

assuming (counterfactually) that the answer to Magema’s Issue One is

“yes,” the outcome is still to affirm, because Magema does not seek and

cannot obtain reversal of the trial court’s basis for denying Magema’s

motion for new trial—that independently of any improper counsel

argument, no manifest injustice occurred.

     Magema’s legal misstep is that it confuses what a district court may

do for what it must do. A district court “may” grant a new trial if it finds


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“the trial was unfair or prejudicial error was committed.” Smith v.

Transworld Drilling Co., 773 F.2d 610, 613 (5th Cir. 1985) (emphasis

added). In other words, a harmless or non-prejudicial error is not

sufficient to vest the district court with authority to grant a new trial; a

harmful one can be. This distinction tracks Federal Rule of Civil

Procedure 61, which requires district courts to disregard harmless error.

     Here, the district court did multiple things: (i) it observed that

certain of counsel’s statements were improper and prejudicial, but that

these were harmless because Magema failed to meet its burden to show

these statements affected the outcome of the trial, and because those

statements in fact did not affect the outcome of the trial; 100 and (ii) that

independently, a review of the trial record as a whole shows no manifest

injustice occurred. 101 Even if, counterfactually, Magema’s Issue One were

right in showing that the actual-testing arguments in fact were not

harmless—thereby affecting only subsidiary holding (i)—that would

simply mean the district court would have stepped closer to acquiring

discretion to grant a new trial because the harmless-error impediment



100 Appx0111-12.

101 Appx0113; Appx0134-36.




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had given way. See Smith, 773 F.2d 613.

     But discretion is not a mandate. There is only one circumstance

applicable here when a district court must grant a new trial and has

abused its discretion in doing otherwise. That is when “manifest injustice

will result from letting the verdict stand.” Learmonth v. Sears, Roebuck

& Co., 631 F.3d 724, 731 (5th Cir. 2011). To show reversible error,

Magema therefore must prove that the district court “clear[ly] . . . abuse[d

its] discretion” by ignoring a “manifest injustice requiring reversal.” Id.

at 731-32.

     Magema does not try, because the district court’s discretion is

nearly unassailable. Appellate review by the “cold record” is simply no

substitute for the trial court’s front-row seat. O’Rear v. Fruehauf Corp.,

554 F.2d 1304, 1308 (5th Cir. 1977). And discretion reaches its zenith

when, as here, a new trial is denied rather than granted. Whitehead v.

Food Max of Miss., Inc., 163 F.3d 265, 269 (5th Cir. 1998).

     That is why circuit courts rarely reverse denials of new-trial

motions, and never on records like this one—so much so that even fairly

shocking fact patterns fail to pass muster. See Mills v. Beech Aircraft

Corp., 886 F.2d 758, 765–66 (5th Cir. 1989) (Fifth Circuit did “not



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necessarily approve of the closing argument” that included egregious

statements and no curative instruction, but could not say “verdict is

inconsistent with substantial justice” so affirmed denial of motion for new

trial).

      The rare Fifth Circuit caselaw ordering a new trial shows how

extreme manifest injustice must be. Compare this case to Hall v. Freese,

735 F.2d 956 (5th Cir. 1984). The defense falsely told the jury throughout

trial that the plaintiff was “a woman who had flouted respect for

marriage vows, who had used illegal drugs, and who was trying to take

advantage of the good people of rural northern Mississippi,” and made

other statements so “improper” they had “no place in a federal court.” Id.

at 956, 960-61. Even so, “absent a timely objection” (as is true here), the

court “would not reverse . . . on the basis of these remarks alone.” Id. at

961-62. Instead, the Fifth Circuit performed a searching review of the

entire record, evaluating the statements, the strength of the plaintiff’s

case, the extensive and uncontradicted damages evidence in her favor,

and the inexplicable nature of the jury’s verdict but for the misconduct.

Id. at 959. Only then did the Fifth Circuit reverse for “manifest injustice.”

Id. at 962.



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      Magema’s insinuation that this case is anything like those

warranting retrial defies credibility. Phillips 66 did not “present . . . facts

of its own making to the jury[.]” 102 The district court found, and the record

is plain, that Phillips 66 “presented evidence [without objection] that the

ISO standards required testing of actual samples . . . .” 103 And Phillips

66’s evidence about feed-sample testing—determined by the district court

to be “relevant”—is not akin to falsely calling the opposing party a drug-

addled philanderer. 104 Finally, Magema has not claimed the jury verdict

does not make sense setting aside the “actual testing” issue entirely,

which distinguishes these facts from Hall.

      In sum, the district court’s independent manifest-injustice holding

insulates its new-trial denial from Magema’s distinct harmless-error

appeal here. Even if Magema prevailed in its Issue One that the district

court “erred in its application of the harmless error doctrine,” 105 that at

most would give the court discretion to grant a new trial. But the district

court did not deny the motion for new trial for lack of discretion to grant


102 Br. 4.

103 Appx0108.

104 Compare Appx0111, with Hall, 735 F.2d at 960.

105 Br. 40.




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it, but because there was no manifest injustice. 106 And were this Court to

review under the correct manifest-injustice standard even though

Magema did not, there is no clear abuse of discretion to be found.

         2.         Even If This Court Reaches The District Court’s
                    Subsidiary   Harmless-Error   Analysis,   That
                    Analysis Contains No Reversible Error Because
                    Magema’s Substantial Rights Were Unimpaired.

     Because the holding below stands irrespective of Magema’s first

Issue Presented, this Court need not reach that issue. But if it does

anyway, Magema’s appeal would still fail because Magema has not

shown that the district court’s harmless-error analysis contains any

reversible error.

    Under Federal Rule of Civil Procedure 61, “the court must disregard

all errors and defects that do not affect any party’s substantial rights.”

This is the harmless-error standard. “A ruling has affected the

substantial rights of the party if, when considering all of the evidence

presented at trial, the ruling had a substantial effect on the outcome of

the trial.” Waterman v. McKinney Indep. Sch. Dist., 642 Fed. Appx. 363,

368 (5th Cir. 2016).



106 Appx0136.




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      Magema’s textual challenge to the district court’s legal reasoning

relies on a false reading. Magema suggests that by finding an argument

“prejudicial,” the district court meant harmful error had occurred. 107

      But a prejudicial argument and a prejudicial error are two different

things. A prejudicial argument is one adverse to the other side; this is the

ordinary legal meaning of “prejudice.” See, e.g., Hinojosa v. Butler, 547

F.3d 285, 295 (5th Cir. 2008) (describing prejudice as “the natural and

intended consequence of the admission of evidence by another”).

“Prejudicial error,” by contrast, is a term of art meaning “not harmless”

under the standards requiring the court to disregard harmless errors.

E.g., Avid Technology, Inc. v. Harmonic, Inc., 812 F.3d 1040, 1047 (Fed.

Cir. 2016). The district court noted that an argument was “prejudicial” in

the former sense—that it was introduced against Magema—and not in

the sense that it warranted a new trial under harmless-error review. If

by “prejudicial” the district court meant the argument was not harmless

in the error-review sense—i.e., if it meant “that argument affected the

outcome of the trial”—it would have said so, instead of this: “[T]hat


107 E.g., Br. 31-32 (“A prejudicial error is not harmless by definition . . . .

And the district court concluded that Phillips’ arguments were improper
and prejudicial.”).

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argument did not affect the outcome of the trial.”108 And if the district

court intended to find that Phillips 66’s arguments constituted harmful

error, it would have used words like “harm” and “error.” It did not.

Magema’s only basis for arguing that the district court’s opinion was

legally erroneous is refuted by the order’s plain text.

     Because the district court did not misapprehend the meaning of its

own words, Magema’s real beef is with the district court’s factual

determination that Phillips 66’s argument did not affect the outcome of

the trial. Magema fails there too.109 It cites a single case to mean that a

general verdict cannot stand if an improper argument was made to the

jury. 110 Network-1 Technologies is irrelevant: it was a de novo review of a

claim construction; it was not under Fifth Circuit law; and it concerned

fundamental error in a jury charge. 981 F.3d at 1022. Decades of Fifth

Circuit precedent refute Magema’s legal position anyway. E.g., Muth v.

Ford Motor Co., 461 F.3d 557, 564-65 (5th Cir. 2006) (explaining that the

Fifth Circuit has “engrafted a sort-of harmless error gloss” in cases where


108 Appx0112.

109 See Br. 43-53.

110 Br. 48 (citing Network–1 Techs., Inc. v. Hewlett–Packard Co., 981 F.3d

1015, 1025–26 (Fed. Cir. 2020)).

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the jury uses a general verdict form). If law supporting reversal exists,

Magema has waived the opportunity to provide it.

      In this legal desert, Magema’s harmless-error analysis gets the

“proper question” wrong. 111 It is not “whether the jury could have found

for Magema had Phillips not made such improper and prejudicial

arguments.”112 “The Constitution does not guarantee a perfect trial, only

one that is fair.” United States v. El-Mezain, 664 F.3d 467, 535 (5th Cir.

2011), as revised (Dec. 27, 2011). The proper harmlessness question is

simply whether “the jury’s verdict was amply supported even without”

considering the challenged argument. Foradori v. Harris, 523 F.3d 477,

508 (5th Cir. 2008); see also Tex. Advanced Optoelectronic Sols., Inc. v.

Renesas Elecs. Am., Inc., 895 F.3d 1304, 1316 (Fed. Cir. 2018) (error in

submitting legally erroneous theory to jury was harmless).

      The verdict here had such support; the district court did not abuse

its discretion in determining that the actual-testing argument did not

affect the outcome of the trial. First, actual testing was not the central

issue in dispute. As the district court correctly observed, the actual-



111 Br. 46.

112 Br. 46 (emphasis added).




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testing argument is irrelevant unless the jury made multiple other

predicate findings in Magema’s favor. 113 This cuts in favor of the district

court’s determination that the argument did not affect the trial. See

Lindsey v. Prive Corp., 161 F.3d 886, 895 (5th Cir. 1998).

      Second, the verdict was at least “based largely” on the strength of

Phillips 66’s primary arguments, which “cuts strongly in favor of a

harmless error conclusion[.]” Tex. Advanced, 895 F.3d at 1316 (Fifth

Circuit law). There is no sign the jury sided with Magema on the two

predicate arguments necessary for the actual-testing argument to enter

play, and plenty indication they did not. 114 Because “[Phillips 66]

presented sufficient evidence for a reasonable jury to find” in its favor

excluding the actual-testing argument, “[Magema] fails to show that [the

actual-testing argument] affected its substantial rights.” See Harris v.

FedEx Corp. Serv., 92 F.4th 286, 304 (5th Cir. 2024); see also Echeverry

v. Jazz Casino Co., L.L.C., 988 F.3d 221, 235 (5th Cir. 2021).

      Third, “error in admitting evidence will be found harmless when

the evidence is cumulative, meaning that substantial evidence supports



113 Facts § III at 8-9; Appx0112.

114 Facts § III at 8-9.




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the same facts and inferences as those in the erroneously admitted

evidence.” United States v. El-Mezain, 664 F.3d 467, 526-27 (5th Cir.

2011), as revised (Dec. 27, 2011) (collecting cases). The actual-testing

argument Magema challenges was cumulative of testimony Magema

deliberately elicited. 115 And the argument springs from documentation

the parties admitted into evidence without objection. 116 On that

documentary evidence alone, the jury could have reasonably found that

the claims required actual testing. See Union Pump Co. v. Centrifugal

Tech. Inc., 404 Fed. Appx. 899, 908 (5th Cir. 2010) (harmless error where

testimony was “corroborated” by admissible evidence).

     Fourth, whether actual testing within the battery limits was

necessary was a small part of the trial. See Winter v. Brenner Tank, Inc.,

926 F.2d 468, 473 (5th Cir. 1991) (requiring conduct to “permeate[] the

proceedings”); see also United States v. Achobe, 560 F.3d 259, 271–74 (5th

Cir. 2008) (considering length of trial record). The district court correctly

looked to this factor: “If you think they [the jury] remember a three-

minute discussion over here, you have a greater appreciation for



115 E.g., Appx0907 (199:16-200:10); Appx0928 (33:5-35:10).

116 Appx2045-74; e.g., Appx0894 (146:6-13).




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everybody’s understanding than I could.” 117 Including testimony Magema

itself elicited, Magema relies on statements totaling scarcely two pages

out of over 1,000 in a seven-day trial. 118

      Fifth, the jury did not hear one side of the story. Magema told the

jury its view of why actual-testing was not required: because Magema did

not get the samples its wanted. 119 Admission of improper and highly

prejudicial evidence and argument has been found harmless when the

other party had a chance to place it in context. E.g., Abner v. Kansas City

Southern R. Co., 513 F.3d 154, 168–69 (5th Cir. 2008).

      Finally, the district court mitigated any prejudice resulting from

the actual-testing argument. As Magema proposed, the district court

instructed the jury that “[t]he statements of counsel are not evidence;

they are only arguments. It is important for you to distinguish between

the arguments of counsel and the evidence on which those arguments

rest. What the lawyers say or do is not evidence.”120 “[J]uries are

presumed to follow their instructions.” Zafiro v. United States, 506 U.S.


117 Appx1065 (243:1-4).

118 Br. 26-27.

119 E.g., Appx0928 (34:15-18); Appx2040 (79:23-80:8).

120 Appx2008-37.




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534, 540 (1993).

      All that is left of Magema’s first issue is a stray footnote challenging

the district court’s denial of a burden-shifting motion that has nothing to

do with this appeal.121 The district court properly denied that motion,122

and Magema waived this issue on appeal. SmithKline Beecham Corp. v.

Apotex Corp., 439 F.3d 1312, 1320 (Fed. Cir. 2006) (citation omitted)

(“[A]n argument raised in a footnote in an opening brief was waived as

not properly raised.”).

II.   Magema’s Second Issue Fails To Raise A Preserved Or Valid
      O2 Micro Challenge.

      Magema’s second issue fails no matter how this Court views it.

First, Magema failed to preserve the issue by arguing a fundamentally

different error in the court below. Second, it waived any O2 Micro

challenge by failing to request a claim construction on the terms it now

challenges. And third, Magema’s O2 Micro challenge fails on the merits

even if it were properly presented here.




121 Br. 47 n.7.

122 Appx0069-76.




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       A.      Magema Failed To Preserve This Issue For Appeal
               Because The Challenge Magema Raised Below Is
               Fundamentally Different From The One It Raises Here.

       Magema’s O2 Micro challenge is striking in the odd types of rulings

it appeals—an incongruity born of attempts to deflect from the

fundamental break between how it raises this issue here versus how it

raised it below. As to “compliant with ISO 8217:2017,” Magema points

not to any Markman order (where Magema prevailed in full) or other

claim construction ruling, but rather to a denial of Magema’s motion for

curative instruction that dealt solely with the consequences of a discovery

dispute. As to “prior to hydroprocessing,” it is puzzling what ruling

Magema appeals at all—at times it mentions the summary judgment

rulings, where Magema prevailed; 123 or complains of a pre-trial order

while admitting that “the district court rejected Phillips’ argument”; 124 or

objects to the jury instructions, though Magema requested none; 125 or

suggests the court should have acted sua sponte in response to no request

at all. 126


123 Br. 61, 68.

124 Br. 68-69.

125 Br. 70-71.

126 Br. 68, 71.




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      This fishing about speaks volumes. Magema fails to mention that

its challenge about the jury being permitted to decide limitations outside

the scope of these exact claim terms was the basis of Magema’s motion

for a new trial, an argument the district court’s opinion spent pages

debunking.127

      That silence is because the issue Magema raised below is

fundamentally different than the one it raises here. Below, Magema

moved for a new trial because Phillips 66 allegedly acted improperly.128

The premise of the motion was that patent terms were construed by

stipulation, or spoke for themselves, yet Phillips 66 defied their limits to

procure a verdict against “the overwhelming weight of evidence.”129

Phillips 66 responded that Magema failed to object at trial and that

“Magema’s challenges rest on claim limitations that were not subject to

court claim construction.” 130 And on reply, Magema conceded that no

party had requested a claim construction, contending that “Magema was



127 Appx0097-108 (“[T]he court is not persuaded that Defendants argued

a limitation not found in the claims . . . .”).
128 Appx2099-2103, Appx2101 n.6; Appx2092.

129Appx2095.

130 Appx0097; Appx2134-36.




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not obliged to request” one 131 and reiterating the issue as being Phillips

66’s improper arguments. 132

     Nowhere is there any hint that the supposed error is what Magema

contends now: the district court’s failure or refusal to construe the claims

altogether. Before this appeal, Magema never even cited O2 Micro.133 The

district court spent nearly a dozen pages carefully addressing this issue

as Magema had raised it, explaining how Phillips 66 “Did Not Argue

Limitations Not Found in the Claims.”134 It explained how “[a]bsent the

court’s construction of a claim term, the jury was free to rely on the term’s

plain and ordinary meaning.” 135 Since “no party sought the court’s

construction of the term ‘prior to hydroprocessing’” or “‘compliant with

ISO 8217:2017,’” and both “parties presented conflicting evidence on”

them, Phillips 66’s arguments were proper. 136

     In changing tack here, Magema ambushes the district court’s



131 Appx2151.

132 Appx2150.

133 Appx0455-86; Appx1093-99.

134 Appx0097-108.

135 Appx0098.

136 Appx0103-04; Appx0106-08.




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judicial function. Had Magema instead objected to the trial judge that in

fact it was he who had failed, the judge could have issued any missing

claim constructions—and prevented the monstrous waste of resources

that necessarily followed if Magema’s appellate issue was preserved. This

Court need go no further to affirm on Issue Two.

     B.    Magema Waived Its O2 Micro Argument By Failing To
           Request A Claim Construction On Either Of Its
           Challenged Terms.

     Magema also waived its O2 Micro challenge in the trial court by

failing to request construction of the challenged terms. A party who

“‘never requested that the district court construe any terms in the

relevant claim and never offered a construction of that claim’” has

“waived its right to request a construction” of any terms and “thereby

implicitly conceded that the meanings of” those terms “is clear and not in

need of construction.” Broadcom Corp. v. Qualcomm Inc., 543 F.3d 683,

694 (Fed. Cir. 2008) (quoting Eli Lilly & Co. v. Aradigm Corp., 376 F.3d

1352, 1360 (Fed. Cir. 2004)) (cleaned up). Magema’s “reliance on . . . O2

Micro is misplaced,” because “[u]nlike in O2 Micro, where the parties

disputed the proper construction of a term at a pre-trial Markman

hearing,” Magema “failed to offer its proposed construction . . . at or prior



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to trial, and [this Court] reject[s] such arguments raised for the first time

after the jury verdict.” Id.

      Magema is even worse off than the parties who suffered waiver in

Broadcom and Eli Lilly. Not only did Magema never request a claim

construction for these terms at Markman or anywhere,137 even its post-

trial motions continued to concede that no party requested construction

and that these terms were subject only to factual and evidentiary

challenges. See supra Argument § II.A.

      Crucially, the district court required the parties to file a joint

pretrial statement identifying all “Additional Issues To Be Addressed By

the Court” and all “Contested Issues of Law” remaining for trial

(precisely to prevent this kind of ambush). 138 In doing so, the parties

jointly requested only that the court address “evidentiary disputes raised

by the parties during the upcoming pre-trial conference,” 139 and Magema

stated that its only contested issues of law remaining were those set forth




137Appx0103; Appx0107; Appx0004-05; Appx0231; Appx0260 (same);
Appx1829 (providing agreed construction for “compliant with ISO 8217-
2017”).
138 Appx0536.

139 Appx0575.




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in its pretrial Memorandum of Law and Proposed Jury Charge.140 While

Magema raised a litany of remaining legal issues therein, not one

contends that the district court owed Magema any claim construction.141

      Indeed, Magema proposed the (jointly agreed) jury instruction that

“[f]or a claim term for which I have not provided you with a definition,

you should apply the ordinary meaning of that term in the field of the

patent.”142 Magema then prepared the notebook given to the jury, which

contained the claim constructions the court issued at Markman but no

constructions—proposed or actual—of “prior to hydroprocessing” or

“compliant with ISO 8217:2017” (beyond the stipulated one that it must

meet Table 2). 143 The same goes for Magema’s proposed jury charge.144

Yet Magema nevertheless blames the “district court” as being “obligated

to give [a] construction to the jury in its instructions” that no party asked

the court to give. 145



140 Appx0551.

141 See Appx0579-609; Appx0641-707.

142 Appx0651; see also Appx1830-31.

143 Appx0845 (4:13-17); Appx1137.

144 Appx0672.

145 Br. 71.




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      Three effects follow. One, Magema is bound by what it said the jury

should be told—that for questions on which no definition was provided in

the jury notebook or charge, such as the “actual testing” or “prior to

hydroprocessing” ones it challenges here—it was correct for the jury to

“apply the ordinary meaning of the term” as the jury determined it on the

evidence. 146 Two, these admissions knock out every waived reinvention

on appeal—that the district court was asked to, but failed, to make a legal

ruling on outstanding claim terms; 147 that it was error to allow the jury

to apply the ordinary meaning of terms with no construction but disputed

factual evidence; 148 and that the district court impliedly did construe the

claim terms but erroneously failed to instruct the jury of those

constructions.149 And three, Magema’s failure to request a jury

instruction construing the challenged terms150 itself waives its claim

construction argument. E.g., Lighting Ballast Control LLC v. Philips




146 Appx0651.

147 Br. 58, 67.

148 Br. 54, 58, 60.

149 Br. 60, 70-71.

150 Appx0641-707; see also Appx2002-06 (243:10-256:23 (Charge
Conference)).

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Elecs. N. Am. Corp., 790 F.3d 1329, 1337–38 (Fed. Cir. 2015).

     Furthermore, this Court’s waiver holdings in two strikingly similar

cases are blueprints for the outcome that should follow here. In one, like

here, the parties agreed to a certain meaning for a claim limitation151 but

“[n]either party asked the court to further construe the . . . limitation,”152

and so “[d]uring trial, the Defendants contended that to prove that” the

claim was met only if the technology was located at a particular place,

while the plaintiff argued that the claim was not so limited and the

technology could appear in other locations. 153 Lazare Kaplan Int’l, Inc. v.

Photoscribe Techs., Inc., 628 F.3d 1359, 1375 (Fed. Cir. 2010).154 After the

jury’s noninfringment verdict, that plaintiff sought a new trial “because

the district court erred by failing to further construe the . . . limitation[,

arguing] that the parties disputed the scope of the limitation, and,

despite recognizing the nature of the dispute, the court failed to resolve

the issue, effectively leaving the jury to determine the meaning of the



151 Appx1829.

152 See supra n.137.

153 See, e.g., Appx2040 (78:12-13, 80:2-5).

154 Federal circuit precedent applies to claim construction waiver. Lazare,

628 F.3d at 1376 (citation omitted).

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limitation”—Magema’s argument to a tee.155 Id. at 1375-76.

      This Court held that appellant waived its O2 Micro challenge

because it had not “presented its claim construction argument . . . during

a Markman hearing” and instead “first asserted the claim construction

argument it presses on appeal in a post-trial motion” (even sooner than

Magema, who raises it for the first time on appeal). Id. at 1376 (citing

Broadcom, 543 F.3d at 694). The same excuses Magema presses here

were unavailing. Appellant argued that “the court was allegedly aware

of the issue before the trial concluded,” pointing to various court

statements noting that the issue was disputed—just like Magema. 156 Id.

at 1376. But this Court refused to equate those with “the court [being]

aware of the argument that [appellant] now raises on appeal.” Id.

      Another case also requires waiver. There, like here, an appellant

argued that “the district court’s failure to resolve a legal dispute

regarding the scope of [a claim] limitation constituted error under O2

Micro.” LifeNet Health v. LifeCell Corp., 837 F.3d 1316, 1322 (Fed. Cir.




155 Br. 54-60.

156 Br. 57-59, 61-62.




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2016).157 And there—like Magema’s appellate challenges regarding how

“compliance with ISO:8217” is measured and where “prior to

hydroprocessing” is 158—the parties had litigated at the Markman stage

and elsewhere “the degree” of compliance that was needed but not “from

where” that compliance was to be measured. Id. at 1323 (emphasis in

original). The parties likewise disputed the issue at trial, 159 and the

appellant complained that appellees’ evidence did not comply with the

claims and was sent to the jury in violation of O2 Micro.160 Id. at 1322-

23.

      But this Court explained that appellant failed to “timely request

modification of the district court’s claim construction.” Id. at 1323.

Appellant, like Magema, pointed to various motions and objections.161 Id.

“However, in those instances, [appellant] merely sought to exclude

testimony contrary to the district court’s claim construction . . . or to have

the court instruct the jury as to the degree of removal” that had already



157 Br. 54-55, 59-62, 70-71.

158 Br. 16-25.

159 Br. 25-30.

160 Br. 33-36.

161 Br. 20, 22-23, 29-30.




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been subject to claim construction. Id. Again, so too here, where again

and again Magema and the district court made clear that its rulings were

evidentiary and no party had requested a claim construction on the terms

at issue. 162 This Court held that appellant’s “failure to sufficiently

request further construction of the relevant limitation leading up to and

during trial” meant that it “fails to properly raise an O2 Micro issue.” Id.

at 1322-23.

     Likewise here. As the trial court put it, because “[n]o party sought

the court’s construction of ‘compliant with ISO 8217:2017’” and whether

that required actual testing, and “no party sought the court’s

construction of the term ‘prior to hydroprocessing,’” “the jury was free to

rely on the term’s plain and ordinary meaning” as set forth by the parties’

“vigorously disputed” evidence. 163

     Magema cannot, and really does not, contend here that it requested

a claim construction of these terms below. Instead, like the doomed

appellants in Lazare and LifeNet, Magema deflects attention to various

evidentiary rulings where the parties disputed what facts and argument



162 See supra Facts § II.A.

163 Appx0098, Appx0103, Appx0107-08.




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could go to the jury.

          1.      “Compliant with ISO 8217:2017.”

      As to whether actual testing is required under the term “Compliant

with ISO 8217:2017,” Magema admits that “the parties[ had] an agreed

construction” that “is silent about how compliance with ISO 8217:2017 is

to be determined”—it does not contend it ever asked the court to construe

it.164 Instead, Magema denigrates the judge as someone who “frankly

didn’t understand Magema’s argument” until “finally” “[u]nderstanding

the issue at last” after “five days of trial,” yet nevertheless “did nothing

to correct the problem” despite recognizing the parties had a

“fundamental dispute.”165 The real failure lay not in the judge’s

comprehension but in Magema’s failure to request a claim construction.

That “the court was allegedly aware of the issue before the trial

concluded” is not enough—“it was incumbent upon” Magema “to raise its

claim construction argument before the district court, and, having failed

to do so,” it “cannot now resurrect that argument on appeal by pointing

to ambiguous statements in the record.” Lazare, 628 F.3d at 1376.



164 Br. 54-55.

165 Br. 25, 29, 57-59.




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      The closest Magema comes to faulting the district court’s denial of

any actual request is Magema’s motion for a curative instruction.166 But

Magema stops well short of characterizing that motion as a claim

construction request, for good reason. 167 Magema’s motion had nothing

to do with claim construction—it was solely about Phillips 66’s comments

regarding the discovery dispute. 168 As in LifeNet, Magema “merely

sought to exclude testimony contrary to the district court’s claim

construction”—or, even weaker, contrary to its discovery rulings—not to

correct any O2 Micro problem. LifeNet, 837 F.3d at 1323.

      Finally, Magema includes two footnotes about Phillips 66’s

arguments being barred by “judicial estoppel.” 169 “[A]n argument raised

in a footnote in an opening brief [is] waived as not properly raised.”

SmithKline, 439 F.3d at 1320 (citation omitted). It was waived below.170

And it makes no sense. Contrast New Hampshire, 532 U.S. at 749-50

(judicial estoppel “prevents a party from prevailing in one phase of a case



166 Br. 58.

167 Br. 57-60; Br. 29-30.

168 Appx1098.

169 Br. 56-57 n.9, 10.

170 Br. 56-57 (not contending it raised this argument below).




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on an argument and the relying on a contradictory argument”), with Br.

57 (conceding the trial court “decided against . . . Phillips’ position”).

          2.      “Prior to Hydroprocessing.”

      As to the term “prior to hydroprocessing,” Magema likewise does

not contend that it requested a claim construction below, relying instead

on evidentiary rulings like the ones that led to waiver in Lazare and

LifeNet. First, Magema says it implicitly “asked the Court to resolve the

dispute during summary judgment proceedings,” and that “the district

court implicitly rejected Phillips’ interpretations in its pre-trial”

evidentiary rulings yet nevertheless sent the dispute to the jury without

“the benefit of the district court’s implicit rulings.”171 Magema’s attempt

to equate evidentiary rulings with a claim construction request is

textbook waiver. LifeNet, 837 F.3d at 1323. As for Magema’s implied

request, 172 that appears in its opposition to Phillips 66’s motion to exclude

Magema’s expert testimony, 173 and the only relief it seeks therein is that




171 Br. 61-62, 67-71.

172 Br. 61, 68.

173 Appx0475 (responding to Phillips 66’s MSJ Issue 3, see Appx0456,

which was whether the court should exclude expert opinions); see also
Appx1856.

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the motion to exclude be denied. 174 That is why the request appears only

as a conditional one—“[t]o the extent that a construction is needed” to

deny Phillips 66’s motion to exclude, Magema requested one 175—a

request mooted by the court’s reliance on other grounds to deny the

motion. 176

      Even that conditional request is no claim construction request at

all. Magema’s premise was that its expert opinion remained relevant

precisely because “no construction exists” as to the proper location for

testing “feedstock.” 177 That is why even on its face, the conditional

request is merely one to “adopt [the] express specification definition” that

“Feedstock HMFO” is a “petroleum product fuel compliant with ISO

8217”—a specification term that does not itself answer whether the

independent claim term “prior to hydroprocessing” should be measured

OSBL or ISBL (and is defining a different term, “Feedstock HMFO,” to




174 Appx0463-64.

175 Appx0475.

176 Appx0036-38.

177 Appx0473.




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boot).178

      As for the district court’s allegedly implied claim construction

ruling in its summary judgment and pretrial orders, 179 it is logically

incoherent to equate the district court’s refusal to exclude Magema’s

expert testimony of where “prior to hydroprocessing” occurs with a ruling

that “prior to hydroprocessing” means any particular place. On the

contrary: the expert testimony remained relevant precisely because the

parties had chosen to make the plain meaning a factual issue for trial by

not requesting a claim construction. 180 This is why Magema agreed long

after summary judgment that the district court had never construed the

term “prior to hydroprocessing.” 181

      C.     Magema Fails To Show An O2 Micro Problem On The
             Merits.

      Magema’s failure to request a claim construction is also why the

court’s duty to construe the terms never arose. Magema challenges only



178 Appx0473-75; see also Br. 86 (admitting that “the express specification

definition of feedstock HMFO[] did not require feed to be compliant at
any specific place prior to hydroprocessing”) (cleaned up).
179 Br. 23, 69.

180 Appx0036-38.

181 Appx2150.




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the court’s failure to issue, sua sponte in trial, a claim construction

merely upon “recogniz[ing] that the parties ‘vigorously disputed’ [a] claim

term.”182

      But O2 Micro imposes no such duty. Magema asserts that because

“the claims are silent as to how compliance with ISO 8217:2017” or the

location of “prior to hydroprocessing” “is to be determined,” Phillips 66

was not permitted to advocate for what the plain meaning of these terms

required.183 But Magema faced an affirmative burden below: “[I]f

[appellant] desired such a narrow definition, it could (and should) have

sought a construction to that effect.” ePlus, Inc. v. Lawson Software, Inc.,

700 F.3d 509, 520 (Fed. Cir. 2012). “In the absence of such a construction,

however, the jury was free to rely on the plain and ordinary meaning of

the [claim] term.” Id. That axiom would make no sense if the court must

interject itself into the evidentiary process merely upon seeing competing

interpretations. On the contrary, “a court need not attempt the

impossible task of resolving all questions of meaning,” and instead “a

district court’s duty at the claim construction stage is, simply, . . . to



182 Br. 62; Br. 59.

183 Br. 54, 56, 61, 70.




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resolve a dispute about claim scope that has been raised by the parties.”

Eon Corp. IP Holdings v. Silver Spring Networks, 815 F.3d 1314, 1318-

19 (Fed. Cir. 2016); Lazare, 628 F.3d at 1376 (“[I]t was incumbent upon

[appellant] to raise its claim construction argument before the district

court.”).

      Magema’s additional arguments build on this same foundation of

legal sand. First, the target of Magema’s challenge is not really the

district court; rather, it alleges O2 Micro error arising from the

arguments of Phillips 66’s counsel. Magema appeals that “Phillips’

litigation strategy is a clear violation of this Court’s O2 Micro

precedent.”184 It complains that “[n]othing in the parties’ agreed

construction requires actual testing of a sample[, y]et that is what

Phillips argued at trial”;185 that “Phillips . . . paid no attention to the

district court and continued to make the same” arguments “to the

jury;”186 and that “[w]ithout a construction from the district court,”

“Phillips was not free to argue” its view of the plain meaning “to the




184 Br. 53.

185 Br. 54.

186 Br. 58.




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jury.”187

      But O2 Micro duties run not to opposing counsel but to the court.

See O2 Micro, 521 F.3d at 1362. This Court has dealt before with

appellants who challenge “allegedly improper arguments” by opposing

counsel in the guise of an O2 Micro challenge despite “never [having]

identified . . . [in] the district court any specific claim term that was

misconstrued or that needed further construction.” Verizon Servs. Corp.

v. Cox Fibernet Virginia, Inc., 602 F.3d 1325, 1333-34 (Fed. Cir. 2010).

“While [appellant] attempts to characterize the issue as one of claim

construction, its argument is more accurately about whether [opposing

counsel’s] arguments to the jury about the distinction between [its system

and the claims] were improper,” a challenge reviewed under the law of

the regional circuit. Id. at 1334. “At bottom, then, [Magema’s] complaint

rests not with the district court’s failure to define claim scope, but with

its allowing [Phillips 66] to make certain arguments to the jury,” which

is simply a challenge to improper argument in the guise of a “post-hoc O2

Micro challenge.” See GPNE Corp. v. Apple Inc., 830 F.3d 1365, 1373

(Fed. Cir. 2016). That puts Magema back in Issue One, where its


187 Br. 70.




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challenge to these same terms is cast as one of improper counsel

argument. Magema raises no distinct Issue Two.

      Second, Magema repeatedly attempts to deflect attention from its

own failure to request a claim construction by decrying that none was

requested by Phillips 66: that “Phillips sought to circumvent the entire

claim construction process,” that “Phillips never sought any construction

of this term,” and the like.188 But Phillips 66 is not the party complaining

about the lack of claim constructions. As already explained, “it was

incumbent upon” Magema “to raise its claim construction argument

before the district court.” Lazare, 628 F.3d at 1376.

      Third, whether “complianc[e] with ISO 8217:2017” can be shown

through tests or samples, and whether “prior to hydroprocessing” “must

be established by testing a sample collected” OSBL or ISBL—questions

on which Magema admits the claim terms are “silent” 189—are “factual

questions relating to the test for infringement” that are appropriate for

the jury even if Magema had raised a claim construction request below

(which it did not). Lazare, 628 F.3d at 1376. “Because the claim language



188 Br. 53, 67-68.

189 Br. 54, 61-62.




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does not require a particular form of testing, this inquiry is not a claim

construction question” at all, but simply “a question of fact.” Id.

(quotation omitted). Magema has not raised a sufficiency-of-the-evidence

issue here. But even if it had, there is ample evidence supporting the

jury’s verdict of non-infringement. See supra Argument § I.B.2.

III.   The District Court’s Erroneous Claim Construction In
       Magema’s Favor And Refusal To Further Construe Claim
       Terms Provide An Alternative Grounds For Affirmance.

       Even if this Court were to find that Magema both preserved and

prevailed on its appellate issues, no “remand for a new trial is

appropriate . . . because, when the claim terms are properly construed,

no reasonable jury could have found that” Phillips 66 infringed the ‘884

Patent. See Eon, 815 F.3d at 1320. Indeed, the proper claim construction

of the term at issue here—“Heavy marine fuel oil”—would have resolved

infringement at Bayway at the summary judgment stage. The court’s

summary      judgment     denial   is    predicated     solely    on   its   claim

construction 190—and must fall because that claim construction was

erroneous.




190 Appx0061.




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     A.    The District Court Adopted Magema’s Erroneous
           Construction Of A Key Claim Term And Wrongly
           Refused To Construe It Further.

     The district court ignored a distinction fundamental to the patents-

in-suit. In their opening lines, these patents distinguish between “two

marine fuel types, distillate based marine fuel oil, and residual based

marine fuel oil.”191 The patents concern only the latter; the accused feed

and products are only the former. Specifically, this case and the patents-

in-suit concern “heavy marine fuel oils,” or HMFOs. 192 The patents make

two relevant claims about HMFOs. First, the patents expressly define

them to be “residual” fuels, 193 which in turn they define as fuels

“compris[ing] a mixture of process residues—the fractions that don’t boil

or vaporize even under vacuum conditions.” 194 Second, such residual-fuel

HMFOs must be “compliant with ISO 8217:2017 . . . .”195 These

requirements are different: a fuel can contain process residues, or be ISO

8217 compliant, or neither or both. The claims at issue speak only to an



191 Appx0141 (1:5-6).

192 Appx0141 (1:28-30); Appx0153 (25:27-36).

193 Appx0153 (25:27-36); Appx0146 (11:22-28).

194 Appx0141 (1:28-30).

195 Appx0153 (25:27-36).




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HMFO that is both a residual fuel and ISO complaint.

     The district court erred in holding at the Markman stage, 196 and

reiterating at the summary judgment stage,197 that the claim term

“Heavy Marine Fuel Oil” is construed solely as “a petroleum product fuel

compliant with the ISO 8217 standards . . . .” In defining HMFO solely

by its compliance with the ISO 8217 standards, the court’s construction

reads out altogether the patents’ separate requirement that HMFO

contain process residues—that is, “fractions that don’t boil or vaporize.”

The consequences for the patents’ scope are radical, erasing the patents’

foundational distinction between distillate fuels and process-reside fuels:

because a distillate-based fuel can also be compliant with ISO 8217,198

patents that should have been limited to “process residue” fuels with

“fractions that don’t boil or vaporize” instead expanded to cover

distillates. 199 And because the Phillips 66 refineries at issue process only

distillate fuels that have been fully vaporized before they ever reach the

hydrotreater, reading out the requirement that HMFO be limited to


196 Appx0260.

197 Appx0060.

198 Appx0921 (6:10-7:2).

199 Appx0141 (1:5-6, 1:28-30).




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residual fuels containing “fractions that don’t boil or vaporize even under

vacuum     conditions”     itself   erased    a   dispositive     ground   for

noninfringment. 200

     The court’s fundamental error was to take a patent limitation that

is descriptive and make it definitional, to the exclusion of all other

limitations. In the court’s words, “the defining characteristic of the term

[HMFO]” is “complian[ce] with the ISO 8217 standards.”201 That is an

error of false equivalency. It is true that HMFO must be compliant with

ISO 8217 standards; ISO 8217 compliance is a feature that HMFO must

have in order to fall within the patent’s scope. 202 But that does not define

what HMFO itself is. By way of analogy, imagine a patent for a pet parrot

accessory that claims a harness for a “bird that is (1) big, (2) red, and (3)

loud.” Those are three features that describe what the claimed use must

be like. But they do not define the term “bird,” which carries its own

definition. To interpret the patented harness as being for Clifford—the

beloved talking dog from children’s books who also is big, red, and loud—




200 Appx1878-80, ¶¶12, 15; Appx1074 (25:12-17).

201 Appx0243.

202 Appx0153 (25:27-36).




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would be to ignore that “bird” has independent definitional significance

beyond the three descriptive features. So too here. HMFO indeed must

have the features of ISO 8217 compliance, but the term HMFO has

independent meaning. And its meaning is answered by the patent

specification itself, which defines HMFO in its first use of the term:

“Heavy Marine Fuel Oil (HMFO) comprises a mixture of process

residues—the fractions that don’t boil or vaporize even under vacuum

conditions . . . .”203

      The     Markman      order   initially   recognized    the    definitional

significance the patents gave to HMFO apart from ISO:8217 compliance,

noting that (i) “the specifications do use ‘heavy marine fuel oil’

interchangeably with residual-based fuel oil, and [ii] residual-based fuel

oil is defined in the ‘884 and ‘287 Patents as a mixture of process residues,

which are defined in turn as the fractions that don’t boil or vaporize even

under vacuum conditions.” 204 That should have been decisive; “[t]he

specification acts as a dictionary when it expressly defines terms used in

the claims or when it defines terms by implication,” and “[u]sually, it is



203 Appx0141 (1:28-30).

204 Appx0242.




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dispositive” because “it is the single best guide to the meaning of a

disputed term.” Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582

(Fed. Cir. 1996).

      Three missteps made the district court write that definition out of

its construction of HMFO. First, the court found it highly significant that

the patents reiterate that HMFO is compliant with ISO 8217.205 But that

language supports Phillips 66 because it refers to “a heavy marine fuel

oil that is ISO 8217 compliant.”206 The use of the phrase “that is” only

makes sense if ISO 8217 compliance is a feature of HMFO, not its

definition. See Phillips v. AWH Corp., 415 F.3d 1303, 1314 (Fed. Cir.

2005) (“[T]he claim in this case refers to ‘steel baffles,’ which strongly

implies that the term ‘baffles’ does not inherently mean objects made of

steel.”).

      Second, the court erred by elevating claim language over

specification language.207 Despite having recognized the specification’s

HMFO definition, the court expressly relied on the fact that the




205 Appx0244-245.

206 Id.

207 E.g., Appx0242.




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construction it adopts is reiterated in the claims208 and faults Phillips 66

for being unable “to cite to any claim language that requires HMFO to

contain process residue that does not boil or vaporize.” 209 Giving primacy

to claim language over specification language runs afoul of Phillips, 415

F.3d at 1315-16, which requires that specification language be at least on

equal footing with the claim language in ascertaining the proper meaning

of a claim term (and in fact the specification is “the best source” for claim

meaning). See also Netword, LLC v. Centraal Corp., 242 F.3d 1347, 1352

(Fed. Cir. 2001) (“The claims are directed to the invention that is

described in the specification; they do not have meaning removed from

th[at] context . . . .”).

      Third, the court’s error may have stemmed from its focus on

whether HMFO must contain any particular amount of residue rather

than on whether it must contain any. While Phillips 66 initially argued

that HMFO must contain a “majority” of process residues,210 the court

recognized Phillips 66’s “contention that ‘the dispute between the parties




208 Appx0059-60; Appx0244-245.

209 Appx0059-60 (emphasis added); Appx0245.

210 Appx0242.




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is whether the claimed HMFO must contain any process residues,

because Magema accuses distillates that contain no[ne].’” 211 Rejecting

Phillips 66’s “majority” argument did not give the court license to write

out of its claim construction the specification’s HMFO definition.212

Worse, when Phillips 66 sought further claim construction because the

existing one “does not address the dispute between the parties . . .

whether distillate materials that have completely boiled and vaporized

can be considered a heavy marine fuel oil,” which gave the court “a

continuing obligation to address that dispute” under O2 Micro,213 the

court refused. And it did so by reiterating the same erroneous bases from

its Markman order, principally that Phillips 66’s proposed definition

“merely recites a description in the specifications,” and “fail[s] to cite any

claim language that requires HMFO to contain process residue that does

not boil or vaporize even at vacuum conditions.”214 In so doing, the court

committed both classic claim construction error and O2 Micro error, by

sending to the jury the claim construction question whether a residual


211 Appx0058 (emphasis in original); Appx0238.

212 Appx0242.

213Appx1906-07; Appx1857-58; Appx1122 (reurging at JMOL).

214 Appx0059-60.




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HMFO can encompass distillate fuels containing no process residues.

Each error provides an alternative ground for affirmance.

     B.    The District Court’s Claim Construction Error Defeats
           Any Remand Because No Factfinder Could Have Found
           Infringement Had “HMFO” Been Properly Construed.

     Not only did the claim construction error have case-dispositive

significance for any possible jury finding—but-for the error, the case

must have ended at summary judgment. The court’s claim-construction

error, not any evidentiary dispute, was the sole basis for its summary

judgment denial.215 At summary judgment, Phillips 66 explained how

“Magema has never argued that the feedstock into the Bayway

hydrotreater contains fractions that do not boil or vaporize,” such that

“Magema cannot raise a fact issue as to infringement of any asserted

claim when the Court properly construes HMFO.”216 As the court noted,

Magema’s response was that Phillips 66’s motion “hinges entirely on [the]

previously-rejected construction” and “fails because it requests an

untimely claim construction ‘do-over.’”217




215 Appx0061; Appx0065.

216 Appx0054.

217 Appx0054.




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      The only way Magema raised a fact issue was on a different point—

that its expert opined that the Bayway distillate contains “process

residues.” 218 But even if that were right (which as explained below, is

not), residues say nothing about the specific definition imposed by the

patents (but not by the court): “fractions that do not boil or vaporize even

under vacuum conditions.”219 Magema’s expert analyzed Bayway’s

residues in depth without analyzing if the fuel has material that has not

boiled or vaporized.220 Of course those are different concepts, as

Magema’s own summary judgment data proves. Residue data uses the

D86 distillation testing methodology to measure the condensed vapor

that never left the flask—i.e., the “residue.”221 Nowhere does the testing

standard suggest that that “residue” failed to vaporize.222 In fact, Phillips

66’s undisputed summary judgment data showed that all Bayway

samples have been completely boiled and vaporized by prior processing




218 Appx0054; Appx0471-472.

219 Appx0141 (1:28-30).

220 Appx1892-96, ¶¶207-213.

221 Appx1899; Appx1951, Appx1953, ¶¶10.7, 10.19 & Note 21; Appx1910-

11.
222 Appx1943-71.




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before they ever enter the Bayway hydrotreater. 223 Those summary

judgment arguments and supporting evidence are fixed; Magema cannot

enlarge them here. Mid-Continent Cas. Co. v. Bay Rock Operating Co.,

614 F.3d 105, 113 (5th Cir. 2010).

      Accordingly, had the court been laboring under the correct claim

construction, it must have found no issue of fact that Bayway was

noninfringing because its feed lacked fractions that do not boil or

vaporize. Indeed, the court denied summary judgment solely because it

“decline[d] [Phillips 66]’s invitation to revise the construction of HMFO

to include fractions that do not boil or vaporize.” 224 The district court’s

erroneous failure to grant summary judgment provides an independent

basis for affirmance here. (Likewise, no reasonable jury could have found

infringement at Bayway had they been properly instructed about the

legal meaning of HMFO, 225 which is what the summary judgment inquiry

is meant to determine. Either way, no remand should follow.)




223 Appx1878-80, ¶¶12, 15.

224 Appx0061; Appx0065.

225 Appx0672, Appx1122 (reurging claim construction error in jury
instructions and JMOL).

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IV.   The District Court’s Erroneous Exclusion Of Actual
      Flashpoint Data Provides An Alternative Grounds For
      Affirmance.

      Another alternative ground for affirmance is the court’s erroneous

exclusion of dispositive evidence that, had the jury seen it, could not have

led otherwise than to a verdict of noninfringement.

      Eight months before trial, Phillips 66 moved to supplement the

record with evidence of flash point samples from a newly built sample

station located after Drum D-101. 226 That evidence went to a crucial

liability issue: the feedstock flashpoint was the only disputed element of

ISO 8217 compliance at Bayway.227 And because it was undisputed at

trial that the flashpoint of feedstock prior to Drum D-101 was

noninfringing—based on flashpoint samples Phillips 66 had long since

produced228—“the question whether Drum D-101 affects the flash point

of the Bayway hydrotreater’s feed”229 was determinative. To answer that

question, Magema had a single flashpoint theory, and a single way to

prove its theory, at trial: that D-101 should increase the fuel’s flashpoint


226 Appx0018.

227 Appx0063; Appx0926 (25:18-26:4).

228 Appx2075; Appx2077; Appx2079; Appx2080; see Appx1008 (108:7-18).

229 Appx0069.




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to infringement levels, as shown by its Riazi estimate formula.230 By

showing conclusively that the post-D101 flashpoint actually remained

below 140 degrees, the samples not only proved noninfringment for the

time period after they were taken but conclusively proved the

unreliability of Magema’s Riazi model for the entire period of

infringement.231

     Yet the court denied the motion to supplement the record with the

flashpoint samples, merely so as not to amend the scheduling order.232

And when Phillips 66 urged in pre-trial proceedings that the samples be

admissible at trial, the court refused and excluded the samples

altogether.233 The resulting trial was a bizarre charade of Magema

arguing infringement based on Riazi flashpoint estimates, and Phillips

66 disputing the reliability of those estimates, when everyone (except the

jury!) had in their pockets the actual flashpoint measurements that

proved noninfringment and proved Riazi was not capable of accurately

estimating flashpoint.


230 Appx0964 (177:9-178:2); Appx0966 (189:2-9); Appx0991 (40:1-4).

231 Appx2081-83.

232 Appx0032.

233 Appx0618; Appx0814 (1-7).




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     That the court took this drastic step merely to avoid extending the

discovery deadlines 234 is an abuse of discretion. Rather than assess the

real importance of the evidence, the court merely repeated its

unwillingness to extend case deadlines.”235 Later, the court excluded the

evidence from trial without further explanation.236 No reason justified

trying the case on estimates known to be wrong when the true evidence

was available, and to have done so on a dispositive issue undermined

Phillips 66’s substantial rights. E.E.O.C. v. Manville Sales Corp., 27 F.3d

1089, 1093–95 (5th Cir. 1994) (finding abuse of discretion in exclusion of

evidence and reversing verdict).




234 Appx0032.

235 Appx0028.

236 Appx0814 (5-7).




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                             CONCLUSION

    This Court should affirm the district court’s judgment. Any remand

should be limited to Bayway; should permit the court to reconsider its

new trial order; and should correct the errors set forth in Issues 3 and 4

herein.


Dated: May 22, 2024                          Respectfully submitted,

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                 CERTIFICATE OF COMPLIANCE

      1. This brief complies with the type-volume limitation of Federal
Circuit Rule 32(b)(1) because it contains 13,835 words, excluding the
parts of the brief exempted by Federal Circuit Rule 32(b)(2) and Rule
32(f) of the Federal Rules of Appellate Procedure.

     2. This brief complies with the typeface and type-style requirements
of Federal Rules of Appellate Procedure 32(a)(5) and 32(a)(6) because it
has been prepared in a proportionally spaced typeface in 14-point
Century Schoolbook font.

Dated: May 22, 2024                     /s/ Denise L. Drake
                                        Denise L. Drake




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